                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                    Case No. 3:21-mj-4149
 v.

 RICCARDO PAOLO SPAGNI,                             Magistrate Judge Alistair E. Newbern

         Defendant.


                                             ORDER

        Riccardo Paolo Spagni has moved for the temporary release of his passport so that he may

apply for a Social Security Number (Doc. No. 43). The United States opposes the motion (Doc.

No. 45). The Court finds that prior temporary release of Spagni’s passport for limited purposes on

the terms proposed by his counsel has been successful. Accordingly, Spagni’s motion is

GRANTED.

        Pretrial Services shall release Spagni’s passport to his counsel of record, Jonathan Farmer,

at a mutually convenient date and time.

        Counsel shall maintain possession of the passport and shall accompany Spagni to complete

the necessary documentation to obtain a Social Security Number. Counsel shall not transfer

possession of the passport to Spagni at any time.

        Counsel shall ensure that the passport is returned to Pretrial Services on the same day that

it is released.




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      The passport shall not be used for any purpose other than obtaining a Social Security

Number for Spagni.

      It is so ORDERED.

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                                                ALISTAIR E. NEWBERN
                                                United States Magistrate Judge




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